                    UNITED STATES COURT OF APPEALS
                        FOR THE EIGHTH CIRCUIT

WILLIAM COUSER and SUMMIT
CARBON SOLUTIONS, LLC,
                                               Case Nos. 23-3758 and 23-3760
              Plaintiffs-Appellees,

v.

SHELBY COUNTY, IOWA, et al.,
                                               DEFENDANTS-APPELLANTS’
              Defendants-Appellants.           MOTION FOR EXTENSION OF
                                               TIME TO FILE PETITION FOR
                                               PANEL REHEARING AND/OR
                                               PETITION FOR REHEARING
WILLIAM COUSER and SUMMIT                      EN BANC
CARBON SOLUTIONS, LLC,

              Plaintiffs-Appellees,

v.

STORY COUNTY, IOWA, et al.,

              Defendants-Appellants.


        Appellants, pursuant to Federal Rule of Appellate Procedure 40(d)(1) and

Eighth Circuit Rule 27A(a)(13), hereby move the Court for a 14-day extension of

time to file a petition for panel rehearing and/or a petition for rehearing en banc,

and in support, state as follows:

        1.    On June 5, 2025, the Court filed its opinion in this matter.




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        2.   Pursuant to Federal Rule of Appellate Procedure 40(d)(1), the current

deadline for Appellants to file a petition for panel rehearing and/or a petition for

rehearing en banc is June 19, 2025.

        3.   The undersigned has been out of state on a family vacation since the

opinion was filed and will not have an opportunity to meet with his clients to

discuss a potential petition for rehearing until he returns home the week of June

16, 2025.

        4.   To give the undersigned time to confer with his clients and, if

necessary, prepare the potential petition, Appellants request a 14-day extension, or

until July 3, 2025, to file a petition for panel rehearing and/or petition for

rehearing en banc.

        WHEREFORE, Appellants request that the Court extend their deadline to

file a petition for panel rehearing and/or petition for rehearing en banc to July 3,

2025.

                                             /s/ Jason M. Craig
                                             Jason M. Craig (AT0001707)
                                             AHLERS & COONEY, P.C.
                                             100 Court Avenue, Suite 600
                                             Des Moines, Iowa 50309-2231
                                             Phone: 515-243-7611
                                             Fax: 515-243-2149
                                             jcraig@ahlerslaw.com
                                             ATTORNEYS FOR DEFENDANTS-
                                             APPELLANTS




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                             CERTIFICATE OF COMPLIANCE

       1.      This document complies with the word limit of Fed. R. App. P.
27(d)(2) because, excluding the parts of the document exempted by Fed. R. App.
P. 32(f), this document contains 201 words.

      2.     This document complies with the typeface requirements of Fed. R.
App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6)
because this document has been prepared in a proportionally spaced typeface using
Microsoft Word for Office 365 in 14-point Times New Roman.

                                                 /s/ Jason M. Craig


                              CERTIFICATE OF SERVICE

       I hereby certify that on June 13, 2025, I filed a copy of the foregoing with
the Clerk of Court using the Appellate CM/ECF system which effected service on
all participants in the case who are registered CM/ECF users.


                                                  /s/ Jason M. Craig




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